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                        EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

JIME FIUME,                                       §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §    CIVIL ACTION NO. _____________
                                                  §    JURY TRIAL DEMANDED
DI ANGELO PUBLICATIONS, INC.                      §
AND SEQUOIA DI ANGELO                             §
aka SEQUOIA SCHMIDT                               §
                                                  §
               Defendant.



                            DECLARATION OF SEQUOIA SCHMIDT
                            In Support of Defendants’ Notice of Removal


I, Sequoia Schmidt, a co-defendant in this lawsuit and President and Principal of the other co-

defendant Di Angelo Publications, Inc. (“Di Angelo Publications”), hereby declare as follows:

       1.      Although the complaint refers to me as “Sequoia Di Angelo aka Sequoia

Schmidt,” my legal name and the name I regularly use is Sequoia Schmidt and that is the name I

call myself in this lawsuit and in this declaration.

       2.       I make this Declaration in support of co-defendant Di Angelo Publications’s and

my Notice of Removal of this action from state court to this federal court. My contacts with

Plaintiff, Jim Fiume, have all been in my capacity as President of Di Angelo Publications, and I

speak in this declaration in that capacity, on behalf of Di Angelo Publications.




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       3.      Di Angelo Publications is a book publishing company. Our typical clients are

individuals who want us to help them write a book and then print, publish and market the book

for them. The actual amount of writing and editing of each book that Di Angelo Publications

does, through contractors and editors, varies greatly. Sometimes the client looks to Di Angelo

Publications for all the writing of the book, even though the client will have an idea as to the

overall content, theme or subject matter of the book. Plaintiff Jime Fiume was one such client.

       4.      At the time Jime Fiume, approached me, he had no clear concept of what he

wanted beyond that he wanted his life story to be published as a book. He did not know how to

do it, and he did not want to write it himself. I advised Mr. Fiume that Di Angelo Publications

could secure a ghostwriter, and handle editing, layout, cover design and registration of the book

with book sellers.

       5.      I showed Mr. Fiume a mock contract – to apprise him of Di Angelo Publications’

general terms. He was eager to get started in the process and signed it on the spot. This contract

did not address ownership or assignment of copyrights. It did not address copyrights at all. Di

Angelo Publications and Mr. Fiume never talked about copyrights specifically.

       4.      After talking with Mr. Fiume about his life, and after conducting extensive

research to locate a ghostwriter that I thought would be ideal for Mr. Fiume’s book, I found a

ghostwriter in New York, the city where Mr. Fiume grew up and thus someone I thought would

be familiar with the environment and circumstances related to Mr. Fiume’s story.

       5.      Di Angelo Publications engaged that ghostwriter and arranged for him to come to

Houston to meet and talk with Mr. Fiume, so the ghostwriter could write the story for the book.

The ghostwriter followed up that meeting with a number of phone conversations with Mr. Fiume




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and ultimately the ghostwriter provided Di Angelo Publications with a manuscript about 30,000

words in length.

       6.     Mr. Fiume wanted the book to be longer. Di Angelo Publications then had its

editor Elizabeth Zinn spend multiple weekly meetings talking with Mr. Fiume from which she

wrote material expanding the book to 65,000 pages.

       7.     Upon editor Zinn’s completion of the manuscript, Mr. Fiume called me to advise

that he had left a large portion of his life and story out of the book. He wanted my advice on

whether or not he should have the manuscript redone. He then proceeded to tell me some

information I considered vital to his life story. Thus, I responded to Mr. Fiume that the

manuscript should be adjusted to include that information.

       8.     Di Angelo Publications’ editor Zinn then revised and supplemented the

manuscript to include the additional information.

       9.     In preparing the book for printing, Di Angelo Publications consulted with Mr.

Fiume about the cover for the book. Originally, Mr. Fiume approved the book name to be

“Street Smart, an Orphan’s Story,” authored by him. Then Mr. Fiume decided he wanted the

author to be called “Jim River” instead of “Jim Fiume.” Di Angelo Publications then published

the book titled, “Street Smart, an Orphan’s Story” by author “Jim River.” After that publication,

Mr. Fiume decided he wanted a different cover. After that change and republication of the book,

and a book signing at the River Oaks Bookstore, in Houston, Texas, Mr. Fiume decided to

change the title and author name of the book to: “Born a Burden, A Story of an American

Orphan,” by “Jim Fiume,” with still another different cover on the book.

       10.     In total, Mr. Fiume signed off on the publication of the book four times—causing

Di Angelo Publications to redo the design, layout and cover each time. The changes were due to




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Mr. Fiume’s wanting to change his name on the book to Jim River, then back again to Jim

Fiume. Mr. Fiume also requested cover changes a total of six times. And Mr. Fiume ultimately

changed the title of the book.

       11.     While Di Angelo Publications made changes in the book cover and title at Mr.

Fiume’s request, and while he accepted the book for publication by Di Angelo Publications, Mr.

Fiume did not write any part of the book.

       12.     The facts contained herein are within my own personal knowledge and are to the

best of my belief both true and correct unless specifically indicated otherwise.



       I declare under penalty of perjury that the foregoing is true and correct.



Executed on February 17, 2020
                                      ________________________________________________
                                                      SEQUOIA SCHMIDT




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